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                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                                                                                      November 15, 2021
                          UNITED STATES DISTRICT COURT                                 Nathan Ochsner, Clerk
                           SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

ALEJANDRO EVARISTO PEREZ,                       §
                                                §
       Plaintiff,                               §
                                                §
V.                                              §           CIVIL ACTION NO. 4:21-CV-765
                                                §
DISNEY CORPORATION,                             §
                                                §
       Defendant.                               §

                       MEMORANDUM AND RECOMMENDATION

       Pending before the Court1 is The Walt Disney Company’s (“TWDC”) Motion to Dismiss

for lack of personal jurisdiction, Motion to Dismiss for lack of capacity, and alternative Motion

for More Definite Statement.2 The Court has considered the motion, all other relevant filings, and

the applicable law. For the reasons set forth below, the Court RECOMMENDS that TWDC’s

Motion to Dismiss be GRANTED and the case be DISMISSED WITH PREJUDICE. The Court

FURTHER RECOMMENDS that all other pending motions3 be DENIED AS MOOT.

I.     BACKGROUND

       On March 9, 2021, Plaintiff filed a complaint against “Disney Corporation.”4 “Disney

Corporation” does not exist as a legal entity or trade name for any Disney affiliated entity.5 TWDC




       1
         This case was referred to the Undersigned Magistrate Judge pursuant to 28 U.S.C.
§636(b)(1)(A) and (B), the Cost and Delay Reduction Plan under the Civil Justice Reform Act,
and Federal Rule of Civil Procedure 72. (See Dkt. No. 18.)
       2
         Dkt. No. 7.
       3
         Dkt. Nos. 4, 28-29, 32-36.
       4
         Dkt. No. 1.
       5
         Dkt. No. 7 at 2.
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is the parent company of the Disney-affiliated entities.6 Plaintiff confirmed he intended to sue

TWDC.7 Plaintiff alleges violations of copyright law and interference with his ability to publish

and sell his fictional novel online through Amazon.8

       On March 30, 2021, TWDC filed the instant Motion to Dismiss for lack of personal

jurisdiction, Motion to Dismiss for lack of capacity, and alternative Motion for More Definite

Statement.9 TWDC argues that the Court lacks personal jurisdiction over it and requests that the

Court dismiss Plaintiff’s complaint pursuant to Federal Rule of Civil Procedure 12(b)(2).10 In the

event that TWDC’s Motion to Dismiss for lack of personal jurisdiction is denied, TWDC presents

arguments as to insufficient service of process and lack of capacity to be sued, as well as a Motion

for More Definite Statement.11 On June 14, 2021, the Court ordered the case stayed until the Court

could rule on TWDC’s Motion to Dismiss.12

II.    LEGAL STANDARD

       Federal Rule of Civil Procedure 12(b)(2) requires a court to dismiss a claim if the Court

does not have personal jurisdiction over the defendant. After a non-resident defendant files a

motion to dismiss for lack of personal jurisdiction, it is the plaintiff’s burden to establish that

personal jurisdiction exists. Bullion v. Gillespie, 895 F.2d 213, 217 (5th Cir. 1990) (citing WNS,

Inc. v. Farrow, 884 F.2d 200, 202 (5th Cir. 1989)).

       Federal due process permits personal jurisdiction over a nonresident defendant who has




       6
         Id.
       7
         Dkt. No. 8 at 7–9.
       8
         Dkt. No. 1 at 5–6.
       9
         Dkt. No. 7.
       10
          See id.
       11
          See id.
       12
          Dkt. No. 27.
2/5
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minimum contacts with the forum state, subject to the limit of not offending “traditional notions

of fair play and substantial justice.” Johnston v. Multidata Systems International Corp., 523 F.3d

602, 609 (5th Cir. 2008) (citation omitted). Such contacts may establish either general or specific

jurisdiction.

        A federal court has general jurisdiction over a nonresident defendant “to hear any and all

claims” if that defendant’s contacts with the state are so “continuous and systematic” as to render

it “essentially at home” in the forum state. Daimler AG v. Bauman, 571 U.S. 117, 127 (2014). This

is a difficult showing to make, requiring “extensive contacts between a defendant and a forum.”

Johnston, 523 F.3d at 609.

        A federal court has specific jurisdiction over a nonresident defendant “when a nonresident

defendant has purposefully directed its activities at the forum state and the litigation results from

alleged injuries that arise out of or relate to those activities.” Walk Haydel & Associates Inc. v.

Coastal Power Production Co., 517 F.3d 235, 243 (5th Cir. 2008) (internal quotations omitted).

The defendant’s contacts with the forum “must be more than ‘random, fortuitous, or attenuated, or

of the unilateral activity of another party or third person.’” ITL International, Inc. v. Constenla,

S.A., 669 F.3d 493, 498 (5th Cir. 2012) (quoting Burger King Corp. v. Rudzewicz, 471 U.S. 462,

475 (1985)).

III.    ANALYSIS

        TWDC, a nonresident defendant, argues that Plaintiff fails to establish personal jurisdiction

over it.13 Under a general jurisdiction analysis, Plaintiff fails to allege any sustained or meaningful

contacts between TWDC and the State of Texas that would support a theory of general jurisdiction




        13
             Dkt. No. 7 at 3–4.
3/5
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over TWDC. Further, TWDC has no offices in Texas, no employees in Texas, holds no real

property in Texas, maintains no bank accounts in Texas, is not licensed to conduct business and

does not conduct business in Texas, pays no taxes in Texas, maintains no telephone number or

mailing address in Texas, and has appointed no agent for service of process in Texas.14 TWDC

does not have sufficient contacts with Texas for the Court to exercise general jurisdiction.

Accordingly, Plaintiff fails to establish general jurisdiction over TWDC.

       Similarly, the Court lacks specific jurisdiction over TWDC. As noted by TWDC, Plaintiff

fails to make any reference to Texas in his complaint other than listing his own residential

address.15 Personal jurisdiction “may not be based upon the mere fortuity that a plaintiff is a Texas

resident.” See AllChem Performance Products, Inc. v. Aqualine Warehouse, LLC, 878 F. Supp. 2d

779, 787 (S.D. Tex. 2012). Even in his response to TWDC’s Motion to Dismiss, Plaintiff does not

identify any cause of action that arises from or is directly related to any alleged contacts by TWDC

with the State of Texas. Plaintiff admits in his response that TWDC’s Motion to Dismiss “is

technically the first formal and only official direct communication from [TWDC] to the Pro Se

Plaintiff . . . .”16 Accordingly, Plaintiff fails to establish specific jurisdiction over TWDC.

Therefore, the Court recommends that Plaintiff’s complaint be dismissed pursuant to Federal Rule

of Civil Procedure 12(b)(2).17




       14
          Id. at 5.
       15
          See Dkt. No. 1 at 1; Dkt. No. 7 at 6.
       16
          Dkt. No. 8 at 7.
       17
          Because the Court may not exercise personal jurisdiction over TWDC, it need not reach
TWDC’s arguments as to insufficient service of process or lack of capacity to be sued. Likewise,
the Court need not address TWDC’s Motion for More Definite Statement.
4/5
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IV.    CONCLUSION

       Based on the foregoing, the Court RECOMMENDS that TWDC’s Motion to Dismiss be

GRANTED and the case be DISMISSED WITH PREJUDICE. The Court FURTHER

RECOMMENDS that all other pending motions18 be DENIED AS MOOT.

       The Clerk shall send copies of this Memorandum and Recommendation to the respective

parties who have fourteen days from the receipt thereof to file written objections thereto pursuant

to Federal Rule of Civil Procedure 72(b) and General Order 2002-13. Failure to file written

objections within the time period mentioned shall bar an aggrieved party from attacking the factual

findings and legal conclusions on appeal.

       The original of any written objections shall be filed with the United States District Clerk

electronically. Copies of such objections shall be mailed to opposing parties and to the chambers

of the Undersigned, 515 Rusk, Suite 7019, Houston, Texas 77002.

       SIGNED in Houston, Texas on November 12, 2021.




                                                     Sam S. Sheldon
                                                     United States Magistrate Judge




       18
            Dkt. Nos. 4, 28-29, 32-36.
5/5
